Case 22-10609-amc Doc Filed 04/28/22 Entered 04/28/22 11:05:56 Desc Main
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Ta tet : Chapter 11
SCUNGIO BORST & ASSOCIATES, LLC : BANKRUPTCY NO. 22-10609(AMC)

Debtor

ATTACHMENT TO PROOF OF CLAIM OF CREDITOR BRANDYWINE VALLEY
CONCRETE CONSTRUCTION, LLC

Creditor Brandywine Valley Concrete Construction, LLC is a subcontractor of Debtor
Scungio Borst & Associates, LLC, the general contractor constructing improvements on real
property owned by East Third Media, LLC (“Owner”) located at 28 East Third Street, Media, PA
19063

A Mechanic’s Lien in the amount of $37,144.00 has been filed on October 29, 2022 against
the Owner’s property in the Court of Common Pleas of Delaware County, Pennsylvania, docketed

at CV-2021-008989.

Law Offices + Jamie W.Goncharoff + 15 West Gay Street - Wesi Chester, Pa. 19580

